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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

UNITED STATES OF AMERICA,                    )
                                             )
v.                                           ) 1:12-cr-00160-JAW-2
                                             )
RODNEY RUSSELL,                              )
                                             )
       Defendant                             )

                                RECOMMENDED DECISION

       Rodney Russell has filed four motions: (1) a motion to dismiss (ECF No. 144); (2) a

motion to suppress (ECF No. 145); (3) a motion for discovery/motion to reveal (ECF No. 146);

and (4) a motion to sever (ECF No. 147). The court referred all four motions and I have elected

to address all four motions under 28 U.S.C. § 636(b)(1)(B), even though the discovery and

severance motions are not enumerated under § 636(b)(1)(A), and thus are pretrial motions not

requiring proposed findings of fact and a recommended decision and could be addressed under

Fed. R. Crim. P. 59(a). However, the motions are interrelated and should be addressed as a

group. The motion to dismiss and the motion to suppress require proposed findings and a

recommendation. I now recommend that the court adopt my proposed findings and deny all four

motions.

                                  PROCEDURAL BACKGROUND

       Two of the motions at issue concern out-of-court, photo-identification statements made

by a cooperating witness. Pursuant to Rule 15, the court ordered that the witness, Martin

Roblero, appear for a deposition because of his status as an illegal immigrant subject to

deportation. (Order, ECF No. 114; Order Overruling Obj. to Order Regarding Deposition, ECF

No. 142.) Mr. Roblero appeared in court for deposition on May 14, 2013. Chief Judge John

Woodcock presided at the deposition. Because of the Rule 15 deposition, Roblero was available
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for cross-examination concerning his out-of-court statements. (The parties have not indicated

whether Roblero made an in-court identification of the defendants and Russell does not

challenge any in-court identification in his motion to suppress.) Russell’s current motions must

be understood in light of the fact that the defendant has already had one opportunity to cross-

examine Roblero and the transcript excerpts referenced in both the motion and the response arose

in the context of that deposition.

       Russell filed his four pending motions on May 20, 2013. Following its review of

Russell’s motions, the United States filed a motion for an order directing that Russell file

motions that comply with Local Rule 147(a) (ECF No. 150), complaining that the motions were

so terse and devoid of legal citations that it was impossible to ascertain the gist of the

defendant’s arguments. Following a hearing on that motion, Judge Woodcock ordered the

defendant to file a supplemental memorandum directed at the motion to suppress, the motion for

discovery, and the motion to sever. (Order of June 3, 2013, ECF No. 154.) The United States

responded to the motion to dismiss without any further supplementation. (Response to Mot. to

Dismiss, ECF No. 157.) The defendant filed his supplemental memorandum in support of the

motion to suppress only. (Def.’s Supplemental Mem., ECF No. 160.) Although the defendant

makes reference to certain pages of the Roblero deposition, he did not attach a deposition

transcript or any transcript excerpts. The United States then responded separately to the motion

to sever and the motion for discovery (Response to Mot. to Sever and Mot. for Discovery, ECF

No. 161), as well as to the motion to suppress (Response to Mot. to Suppress, ECF No. 162). No

replies have been filed. In support of its opposition to the motion to suppress the pretrial

identification made by Martin Roblero, the United States filed six exhibits, including excerpts

from the deposition of Martin Roblero. (ECF No. 162-6.) The Government’s excerpts do not



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include the deposition transcript pages cited in Russell’s supplemental memorandum. Russell’s

counsel did not file any exhibits or affidavits in support of Russell’s motions.

                                   PROPOSED FINDINGS OF FACT

       I propose that the court adopt the following findings of fact, without convening an

evidentiary hearing. “[T]he decision of whether to conduct an evidentiary hearing is left to the

sound discretion of the district court.” United States v. Brown, 621 F.3d 48, 57 (1st Cir. 2010).

A hearing on a motion to suppress is not available as a presumptive right. United States v.

D’Andrea, 648 F.3d 1, 5 (1st Cir. 2011). “A hearing is required only if the movant makes a

sufficient threshold showing that material facts are in doubt or dispute, and that such facts cannot

reliably be resolved on a paper record. . . . Most importantly, the defendant must show that there

are factual disputes which, if resolved in his favor, would entitle him to the requested relief.”

United States v. Staula, 80 F.3d 596, 603 (1st Cir. 1996) (citations omitted); see also United

States v. Francois, 715 F.3d 21, 32 (1st Cir. 2013). The defendant has a burden of setting forth

“sufficiently definite, specific, detailed, and nonconjectural” facts to demonstrate “that a

substantial claim is presented.” United States v. Calderon, 77 F.3d 6, 9 (1st Cir. 1996).

       The circumstances of Mr. Roblero’s out-of-court identification statements do not appear

to be in dispute in this case. Nor has Russell requested an evidentiary hearing. Rather, Russell

has merely argued inferences that might be drawn from Roblero’s deposition testimony. The

Supreme Court has held that the Due Process Clause does not require pretrial hearings whenever

a criminal defendant challenges the reliability of identification evidence because criminal juries

are equal to the task of assessing the reliability of identification evidence with the aid of cross-

examination, court instruction, and attorney closing argument. Watkins v. Sowders, 449 U.S.

341, 347-49 (1981). In fact, these attributes of the criminal jury trial satisfy due process except



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in exceptional circumstances. Id.; see also United States v. Daily, 488 F.3d 796, 802-803 (8th

Cir. 2007) (upholding denial of a pretrial hearing and collecting cases upholding the denial of a

pretrial hearing where there was adequate opportunity to cross-examine the witness concerning

out-of-court and in-court identifications). Only in exceptional cases is it necessary to address the

admissibility of identification evidence outside the presence of the jury. Watkins, 449 U.S. at

349. This is not such a case for reasons that are made apparent by the overarching

circumstances, which I now describe.

       As part of an investigation into a marijuana grow located in Township 37 of

Washington County, Maine, investigators identified a witness, Martin Roblero, through DNA

found on evidence left at the scene. (See MDEA Report, ¶¶16-17, ECF No. 162-1.) Somewhere

between one and two years passed between the 2009 raid on the grow and the apprehension of

Roblero in 2011. Attorney Virginia Villa was assigned to represent Roblero. (Id. ¶ 1.) During a

proffer interview in October 2011, Roblero was, initially, not candid with the officers and the

officers stopped the interview, explaining to him that the DNA evidence indicated he was not

being truthful about his involvement at the grow site. (Id. ¶ 16.) Roblero then related detailed

information about the grow, how he came to work there, and what his duties were. (Id. ¶¶ 21-

24.) Roblero also identified by name four men who worked at or were otherwise associated with

the grow. These were “Moises,” “Rod,” “Scott,” and “the boss” or “owner.” (Id. ¶¶ 22, 26.)

Roblero described Rod and Scott by indicating that “[one] was skinny and [one] was short and

fat.” (Id. at ¶ 22.) Among other facts, he explained that he worked over several days with Rod

and Scott, whom he described as the two Americans who were present and in charge of the

operation. (Id. ¶¶ 22-23.)




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       Near the end of the interview, Roblero was handed a book of photographs. (Id. ¶ 52.) In

this book were 36 photographs, although only 34 were of people. (ECF Nos. 162-2, 162-3, 162-

4, and 162-5 contain photographs presented to Roblero.) The photographs were numbered on

their margins 001 through 025 and 100 through 110 (the last photo of a person or persons was

number 1081). Of the 34 photographs of individuals, Defendant Russell appeared in four.

       Roblero was asked if he recognized any of the individuals pictured. Of the 34 photos,

Roblero identified individuals depicted in five. (Id. ¶ 52.) Those five were the photographs

numbered 005, 009, 021, 102, and 104. (Id.) Of these five, two (photos 009 and 102) depicted

Defendant Russell. When shown these two photos, Roblero responded that the person was

“Rod.” Roblero identified the others as “main guy who owns everything” (005), himself (021),

and “Scott” (104). (Id. ¶¶ 52-53.) According to the AUSA, Roblero did not identify Russell in

two other photographs (100 and 101), although Russell was depicted in them. (Response to Mot.

to Suppress at 3, n.1.)

       At his May 14, 2013, deposition, Roblero testified that he received an immunity

agreement from the Government in exchange for his testimony. (Roblero Dep. at 20.) During

his deposition, he referred to running from the scene with Scott and Rod and a group of

Mexicans. (Id. at 56.) He indicated that he was shown a group of photographs in a book of

several pages and recalled seeing “maybe six photographs.” (Id. at 96.) He recalled being asked,

“Who are the people in the photos?” (Id.) He said he remembered three or four of the

photographs, no more than that. (Id. at 97.)

       In his supplemental memorandum, Russell asserts in conclusory fashion that Roblero lied

repeatedly under governmental questioning, citing eleven pages of Roblero’s deposition.

Counsel further argues that Roblero’s identification is “marred by [his] level of uncertainty and
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       This numbering system is not uniformly apparent on the exhibits attached to ECF No. 162.

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length of the time lapse between the alleged crime and the alleged identification process.”

(Def.’s Supplemental Mem. at 3.) However, Russell did not file any excerpts of the Roblero

deposition transcript and filed no reply challenging the United States’ factual presentation

describing the identification process. Consequently, the foregoing proposed findings are based

exclusively on the Government’s submissions, including its narrative of what transpired, the

underlying Maine Drug Enforcement Agency report (ECF No. 162-1), the four photo book logs

(ECF Nos. 162-2 through 162-5), and the previously referenced limited deposition excerpts (ECF

No. 162-6).

                                             DISCUSSION

       For reasons that follow, I recommend that the court deny Russell’s motions without a

hearing. Of the four motions, only the motion to suppress presents even a colorable basis for

holding a hearing. However, as to that motion, the issue presented, a matter of an out-of-court

identification, has already been explored at Mr. Roblero’s Rule 15 deposition. The issues that

Russell now raises about Roblero’s reliability are issues of weight, not issues of admissibility.

Russell fails to demonstrate the existence of facts that, if credited, would justify this court’s

suppression of Roblero’s out-of-court photo-identification statements on the ground that they are

unreliable.

A.     The Motion to Dismiss (ECF No. 144)

       Russell has moved to dismiss the indictment on the ground that it was obtained based on

the perjured testimony of Martin Roblero. (Mot. to Dismiss at 1.) The Government maintains

that an attack on the credibility of a single government witness does not warrant dismissal of the

indictment. (Response to Mot. to Dismiss at 1.) The Government is correct.




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       Once a legally constituted grand jury has returned an indictment, the defendant cannot

bring a pretrial preliminary challenge to that indictment on the ground that the evidence is

inadequate to support a conviction. United States v. Maceo, 873 F.2d 1, 2-3 (1st Cir. 1989). The

matter must be resolved at a trial on the merits. Id. Russell is attempting to have the charges

against him dismissed solely on the basis that any testimony offered by Martin Roblero is not

worthy of belief. This court cannot second guess the actions of the grand jury based on

credibility determinations.

       An indictment “is sufficient if it, first, contains the elements of the offense charged and

fairly informs a defendant of the charge against which he must defend, and, second, enables him

to plead an acquittal or conviction in bar of future prosecutions for the same offense.” Hamling

v. United States, 418 U.S. 87, 117 (1974). The grand jury is not convened to weigh and assess

guilt or the merit of a suspect’s defenses and “it has always been thought sufficient” that the

grand jury should “hear only the prosecutor’s side.” United States v. Williams, 504 U.S. 36, 51

(1992). The Supreme Court has consistently refrained from intruding into the grand jury’s

operations in relation to “the grand jury’s evidence-taking process.” Id. at 50 (citing precedent

refusing to impose an exclusionary rule for evidence derived from a violation of the Fourth

Amendment or to impose a hearsay rule on an institution that allows lay persons to fulfill their

duties free of technical evidentiary rules). Dismissal of an indictment is restricted to “extremely

limited circumstances,” Whitehouse v. United States Dist. Court, 53 F.3d 1349, 1360 (1st Cir.

1995), and “‘a challenge to the reliability or competence of the evidence presented to the grand

jury’ will not be heard,” Williams, 504 U.S. at 54 (quoting Bank of Nova Scotia v. United States,

487 U.S. 250, 261 (1988)). See also United States v. Cameron, 662 F. Supp. 2d 177, 180 (D.

Me. 2009). The record in this case does not depict the sort of extremely limited circumstances



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that would invite dismissal of a grand jury indictment and for that reason I recommend that the

court deny the motion to dismiss.

B.       The Motion to Suppress Out-of-Court Identification (ECF No. 145)

         Russell contends that the photo array constructed by the police was overly suggestive in

violation of due process. (Def.’s Supplemental Mem. at 1.) Identification evidence—

identifications of a defendant made by a witness before trial or in the courtroom—should be

suppressed as a matter of due process only in extraordinary cases. United States v. Henderson,

320 F.3d 92, 100 (1st Cir. 2003). Out-of-court identification evidence routinely is admitted in

federal courts. See Fed. R. Evid. 801(d)(1)(C). When identification evidence is suppressed, it is

“primarily to avoid an unfair trial.” United States v. Bouthot, 878 F.2d 1506, 1516 (1st Cir.

1989).

         An out-of-court identification based on a photo array must be suppressed as a matter of

due process “only if the photographic identification procedure was so impermissibly suggestive

as to give rise to a very substantial likelihood of misidentification.” United States v. Holliday,

457 F.3d 121, 125 (1st Cir. 2006) (quoting Neil v. Biggers, 409 U.S. 188, 197 (1972)). When

the conviction is “based on eyewitness identification at trial following a pretrial identification by

photograph,” a constitutional basis for exclusion of the in-court identification exists only if the

“very substantial likelihood of misidentification” was “irreparable,” despite the defendant’s

opportunity to cross-examine the witness about the accuracy of the identification. See Simmons

v. United States, 390 U.S. 377, 384 (1968).

         The United States Supreme Court has very recently revisited the issue of out-of-court

identifications and reaffirmed that the analysis of whether eye-witness identifications should be

excluded because of due process considerations involves a two-part test. First the court should



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determine whether the police used a “procedure [that] was so unnecessarily suggestive as to give

rise to a very substantial likelihood of irreparable misidentification.” Perry v. New Hampshire,

132 S. Ct. 716, 724 (2012) (quoting Simmons, 390 U.S. at 384-385)). Second, if there was

impermissible suggestiveness, then the court must “assess on a case-by-case basis, whether

improper police conduct created a ‘substantial likelihood of misidentification.’” Id. (quoting

Biggers, 409 U.S. at 201). Ultimately, the court’s role is “to decide whether the identification

itself was reliable under the totality of the circumstances.” Henderson, 320 F.3d at 100 (internal

quotation marks and citations omitted).

       In this case Russell argues that the police process was unnecessarily suggestive because

of three factors: (1) only six photographs were shown and four of those were of individuals

involved in the case; (2) Roblero would have done whatever the police wanted him to do; and

(3) the police officer commented on each photo prior to showing the photo to Roblero. (Motion

to Suppress at 2-3.) Russell provides no evidentiary support for these claims other than the

previously noted page references regarding “lies” within Roblero’s deposition. The evidentiary

showing by the Government in connection with this motion is that Roblero was shown a photo

book containing 36 total images with 34 of those images showing individuals and two showing

buildings. It is true that Roblero testified at his deposition that he did not remember how many

photographs he was shown, but that he thought it may be around six. There is no reason to

dispute the assertion that he was shown a photo book as described by the Government because

Roblero agrees that the photos were in a book. Moreover, the number of pictures he was able to

identify was five and, thus, his memory of what he was shown might have been clouded by the

number of photographs for which he was able to provide identification testimony. The photos he




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 identified of Rodney Russell consisted of a driver’s license photo (photo 9) and one candid photo

 (photo 102).

         There is nothing in the record evidence that suggests that the interviewing agents

 suggested to Roblero which photos he should select or otherwise made any inappropriate

 comments. It is worth noting that Roblero’s federal defender was present during the interview

 and her presence certainly undercuts any inference that the officers coached or cajoled Roblero

 into making an identification. Had the federal defender anything to add regarding suggestive

 comments made by the law enforcement officers, Roblero’s counsel would certainly have

 included an affidavit from her or requested her presence at an evidentiary hearing. Moreover,

 Roblero’s deposition testimony was that he was asked, “Who are the people in the photos?”

 That is hardly a suggestive question. There was nothing suggestive about this procedure that I

 can discern.

         Even if the procedure had been suggestive, the inquiry would not end there. The court

 would still need to find a substantial likelihood of misidentification. Russell’s suggestion that

 Roblero “lied” and that his identification is therefore unreliable is a bit of a non sequitor.

 Clearly, Roblero made certain prior inconsistent statements about his involvement in this

 marijuana grow. Ultimately, a jury will make a determination about the reason he may have lied

 and the truthfulness of his testimony under oath. However, in terms of the inherent reliability of

 his identification, “Rod” was not a person with whom Roblero claims to have had a one-time

 encounter. Roblero traveled with the defendant, lived in a dorm near his, and took directions

 from him. This evidence suggests reliability rather than unreliability. If Roblero is wrong in his

 identification, then it is more likely that his misidentification is the product of perjury, not the

 product of an unnecessarily suggestive identification procedure. The lapse of time also has



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 nothing to do with the reliability of Roblero’s identification in these circumstances where

 Roblero’s contact with “Rod” lasted for longer than a few minutes or hours. There is no basis to

 conclude that the identification was inherently unreliable unless one concludes that Roblero’s

 testimony is unreliable in its entirety and these events simply did not happen as he described.

 Such a finding would be beyond the purview of a motion to suppress an out-of-court

 identification. The motion to suppress should be denied without a hearing. Nothing in Russell’s

 presentation indicates that he has a substantial claim of misidentification based on the use of an

 unnecessarily suggestive photo-identification procedure.

 C.     The Motion for Discovery (ECF No. 146)

        Although docketed as a motion for discovery, the true nature of this motion is that it is a

 motion to reveal the identification of confidential informants. According to Russell, he has

 learned that “the Government has relied on the use of at least two confidential informants.”

 (Motion for Discovery at 1.) Russell does not explain what these confidential informants told the

 Government or why their identities should be discoverable. The Government says “it did not

 employ informants to build the case against the defendant.” (Response to Mot. to Sever and

 Mot. for Discovery at 3, ¶ 9.) Russell provides no further information for the court.

        Under First Circuit precedent, “when the Government informant is not an actual

 participant or a witness to the offense, disclosure is required only in those exceptional

 cases where the defendant can point to some concrete circumstance that might justify overriding

 both the public interest in encouraging the flow of information, and the informant’s private

 interest in his or her own safety.” United States v. Tzannos, 460 F.3d 128, 139 (1st Cir. 2006)

 (quoting United States v. Martinez, 922 F.2d 914, 921 (1st Cir. 1991)). Such a circumstance

 may exist if disclosure of the informant’s identity “is vital to the proper preparation and



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 presentation” of a defense. United States v. Perez, 299 F.3d 1, 4 (1st Cir. 2002). The

 defendant’s burden in this regard is heavy. United States v. Cartagena, 593 F.3d 104, 113 (1st

 Cir. 2010).

        Needless to say, the showing made in this case does not come close to meeting the

 standard. There simply is not even the suggestion of a factual controversy concerning

 informants. It is not even clear whether there actually are two confidential informants in play in

 this case. The motion must be denied.

 D.     The Motion to Sever (ECF No. 147)

        Russell has moved to sever the charges against him from the charges against his co-

 defendants, alleging that he might be prejudiced by the introduction of evidence against other

 defendants and that the other defendants might provide exculpatory evidence for Russell.

 (Motion to Sever at 1.) Russell offers no factual predicates regarding the potential exculpatory

 evidence and his presentation as to the allegedly prejudicial evidence is limited to the allegation

 that “the perjured testimony of Martin Roblero supports that the Government may present

 evidence exclusively against some defendants which would have a tendency to prejudice a jury

 against defendant Russell.” (Id.) He has not made the requisite showing to support severance of

 the charges against him from the co-defendants.

        Rule 14 provides that “[i]f the joinder of offenses or defendants in an indictment . . .

 appears to prejudice a defendant . . ., the court may order separate trials of counts, sever the

 defendants’ trials, or provide any other relief that justice requires.” Fed. R. Crim. P. 14(a). The

 movant bears the burden of making a showing of prejudice, United States v. Tracy, 989 F.2d

 1279, 1283 (1st Cir. 1993), and “the district court enjoys wide latitude” when making its

 decision, United States v. Houle, 237 F.3d 71, 75 (1st Cir. 2001). The court must be mindful to



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 avoid “depriv[ing] defendant of a fair trial, resulting in a miscarriage of justice.” Id. (quoting

 United States v. Tejeda, 974 F.2d 210, 219 (1st Cir. 1992)). Generally, a strong showing of

 prejudice is required. Russell has not made a strong showing and the motion should be

 summarily denied.

                                            CONCLUSION

        Based upon the foregoing, I recommend that the court deny all four of Russell’s motions.

                                               NOTICE

                 A party may file objections to those specified portions of a magistrate
        judge’s report or proposed findings or recommended decisions entered pursuant to
        28 U.S.C. § 636(b)(1)(B) for which de novo review by the district court is sought,
        together with a supporting memorandum, and request for oral argument before the
        district judge, if any is sought, within fourteen (14) days of being served with a
        copy thereof. A responsive memorandum and any request for oral argument
        before the district judge shall be filed within fourteen (14) days after the filing of
        the objection.

               Failure to file a timely objection shall constitute a waiver of the right to de
        novo review by the district court and to appeal the district court’s order.

        August 5, 2013                          /s/ Margaret J. Kravchuk
                                                U.S. Magistrate Judge




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